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                                   United States District Court
                                      District Of Maryland
     Chambers of                                                                       101 West Lombard Street
Ellen Lipton Hollander                                                                 Baltimore, Maryland 21201
  District Court Judge                                                                       410-962-0742



                                                 April 3, 2025

      LETTER TO COUNSEL

             Re:      American Federation of State, County and Municipal Employees,
                      AFL-CIO, et al. v. Social Security Administration, et al.
                      Civil Action No. ELH-25-0596

      Dear Counsel:

              The Court has received the Administrative Record submitted by the defendants. See ECF
      86; ECF 86-1 to ECF 86-6; ECF 100; ECF 100-1, ECF 100-2. The submission was provided to
      the Court, under seal. See ECF 85, ECF 88. Nevertheless, it contains substantial redactions. See,
      e.g., ECF 86-2 at 6–8, 10, 14–17. Given the extensive redactions, the grounds for sealing are
      unclear.

              Today, plaintiffs moved to supplement the administrative record. ECF 96. The motion is
      supported by a memorandum (ECF 96-1) (collectively, “Motion to Supplement”). Alternatively,
      plaintiffs seek limited discovery. Id. In addition, plaintiffs filed an opposition (ECF 94) to the
      motion for protective order that the government filed yesterday. ECF 84.

             As you know, by Order of April 2, 2025 (ECF 91), I arranged a telephonic hearing for
      tomorrow to address the government’s motion for protective order (ECF 84). But, with the
      growing number of disputes, I believe a hearing in court is appropriate. Therefore, in lieu of a
      telephone hearing, I will hold the hearing tomorrow in Courtroom 5B, beginning at 10:00
      a.m.

            As of now, I will consider the Motion for Protective Order (ECF 84); the Motion to Seal
      (ECF 85); and the Motion to Supplement (ECF 96).

             Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
      as such.
                                                            Very truly yours,


                                                                      /s/
                                                            Ellen Lipton Hollander
                                                            United States District Judge
